        Case 3:20-cv-01294-RS Document 180 Filed 11/22/21 Page 1 of 2
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 1                                   2RDER
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 2            Having considered the positions of the parties and good cause appearing, the Court hereby
 3
     ORDERS the following modifications to its Case Scheduling Order
 4                      $GGLWLRQDOH[SHUWGLVFRYHU\VKDOOEHSHUPLWWHGRQO\RQWKHWRSLFRIGDPDJHVWR
 5               DOORZIRUFKDQJHVLQGDPDJHVEDVHGRQWKHDPHQGHGSOHDGLQJV
                        (DFKSDUW\PD\ILOHRQHDGGLWLRQDOVXPPDU\MXGJPHQWPRWLRQOLPLWHGWRWKHQHZ
 6               PDWHULDOLQWKHSOHDGLQJV7KHSDUWLHVDUHHQFRXUDJHGWRVWLSXODWHWRDFRQVROLGDWHGEULHILQJ
                 VFKHGXOHWRFRPELQHVRPHRIWKHSDSHUV
 7            The additionalIDFW discovery related to subjects newly alleged in the parties amended
 8   pleadings shall be limited as follows:
 9               x   Each party may propound no more than 20 additional Document Requests;
10               x   Each party may propound no more than seven (7) additional Interrogatories;
11               x   Each party may propound no more than 10 additional substantive Requests for
12                   Admission;
13               x   Each party may seek deposition testimony (supplemental or new) of not more
14                   than three (3) witnesses (individual or corporate designee); and
15   Either party can petition the court for additional discovery, which shall only be granted upon a
16   showing of good cause.
17            Furthermore, the deadlines for additional discovery shall be modified as follows:
18

19    Event                                                   Proposed Deadline

20    Additional Written Fact
                                                               March 11, 2022
      Discovery Cutoff
21    Close of Additional Fact
                                                                April 13, 2022
22    Discovery
      Case Management
23                                                     April 14, 2022 at 10:00 am
      Conference
24    Deadline to File Motion for
      Summary Judgment on new
25                                                              April 29, 2022
      claims and affirmative
26    defenses
      Supplemental Opening
27                                                              May 6, 2022
      Expert ReportsRQGDPDJHV
28    Supplemental Rebuttal                                    May 20, 2022
                                                                     STIPULATION AND ORDER TO MODIFY
                                                      - -           DISCOVERY DEADLINES CASE NO. 3:20-
                                                                                            CV-1294-RS
       Case 3:20-cv-01294-RS Document 180 Filed 11/22/21 Page 2 of 2



 1    Expert Reports
 2    Supplemental Expert
                                               -XQH
      Discovery Cutoff
 3
      Pretrial Conference                 July 27, 2022 at 10:00 am
 4    Trial                                    August 8, 2022
 5

 6   IT IS SO ORDERED.
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 8
     Dated: 11/22/2021
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                                           RICHARD SEEBORG
11                                         United States District Judge
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                                                     STIPULATION AND ORDER TO MODIFY
                                         --         DISCOVERY DEADLINES CASE NO. 3:20-
                                                                            CV-1294-RS
